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                       UNITED STATES DISTRICT COURT
                                           for the
                       NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION


                        Anthony Lee
                                                                      )
                            Plaintiff
                                                                      )
                                                                      )
                               v.
                                                                      )
                                                                      )      Civil Action No. 1:25-cv-01772
    Lee v. Wexford Health Sources Inc., et al TO:                     )
     WEXFORD HEALTH SOURCES, INC. c/o                                 )
   PRENTICE HALL CORPORATION 801 ADLAI                                )
 STEVENSON DRIVE SPRINGFIELD, IL 62703-4261                           )

                            Defendant


                                        AFFIDAVIT OF SERVICE


I, Jamie L. White, state:

I am over the age of 18 and not a party to this action. I am an authorized process server under the Private
Detective, Private Alarm, Private Security, Fingerprint Vendor, and Locksmith Act of 2004.

I served the following documents to WEXFORD HEALTH SOURCES, INC. in Sangamon County, IL on
March 14, 2025 at 1:41 pm at 801 Adlai Stevenson Drive, Springfield, IL 62703 by leaving the following
documents with Lyle Neeman who as Customer Service Representative is authorized by appointment or by
law to receive service of process for WEXFORD HEALTH SOURCES, INC..

Summons In A Civil Case
Complaint, Civil Cover Sheet

Additional Description:
Photo taken.

White Male, est. age 55-64, glasses: Y, White hair, 140 lbs to 160 lbs, 5' 3" to 5' 6".
Geolocation of Serve: https://google.com/maps?q=39.7578125778,-89.6439229059
Photograph: See Exhibit 1




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Total Cost: $95.00

Under penalties as provided by law pursuant to Section 1-109 of the Code of Civil Procedure, the
undersigned certifies that the statements set forth in this instrument are true and correct, except as to matters
therein stated to be on information and belief and as to such matters the undersigned certifies as aforesaid
that he/she verily believes the same to be true.

I DECLARE UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE UNITED STATES OF
AMERICA THAT THE FACTS HEREIN ARE TRUE AND CORRECT.


                                                         /s/ Jamie L. White
Executed in                                              Signature
   Sangamon County                                  ,    Jamie L. White
                                                         +1 (217) 801-3585
   IL         on     3/18/2025                 .         Proof Illinois LLC
                                                         No. 117.001863




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